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            EXHIBIT 19
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                   Average Domestic Airline Itinerary Fares
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                                                           Average Domestic Airline Itinerary Fares By Origin City for Q1 2024
                                                               Ranked by Total Number of Domestic Passengers in 2023

                                                        Note: To sort the columns found in the table below, click the column header of the desired column.
                     Case 3:24-cv-02311-TSH                   Document 57-19      Filed 10/08/24          Page 3 of 10
2023 Passenger Rank Airport Code   City Name                     State Name   Average Fare ($)        Inflation Adjusted Average Fare ($) (Base Quarter: Q1-2024)
         1               LAX       Los Angeles                        CA                     402.12                                                       402.12

         2               ORD       Chicago-O'Hare                     IL                     404.95                                                       404.95

         3               DEN       Denver                            CO                      353.46                                                       353.46

         4               ATL       Atlanta                            GA                     417.79                                                       417.79

         5               EWR       Newark                             NJ                     432.68                                                       432.68

         6               BOS       Boston                            MA                      389.25                                                       389.25

         7               SEA       Seattle                           WA                      389.42                                                       389.42

         8               DFW       Dallas-DFW                         TX                     441.04                                                       441.04

         9               MCO       Orlando                            FL                     272.93                                                       272.93

        10               SFO       San Francisco                      CA                     444.09                                                       444.09

        11               PHX       Phoenix                            AZ                     372.56                                                       372.56

        12               LGA       New York-La Guardia                NY                     333.57                                                       333.57

        13               JFK       New York-JFK                       NY                     444.19                                                       444.19

        14               LAS       Las Vegas                          NV                     292.04                                                       292.04

        15               MSP       Minneapolis                       MN                      435.43                                                       435.43

        16               IAH       Houston-Intercontinental           TX                     418.27                                                       418.27

        17               PHL       Philadelphia                       PA                     418.76                                                       418.76

        18               FLL       Fort Lauderdale                    FL                     271.35                                                       271.35

        19               SAN       San Diego                          CA                     369.56                                                       369.56

        20               DTW       Detroit                            MI                     456.03                                                       456.03

                                   Washington-Reagan
        21               DCA                                          DC                     384.65                                                       384.65
                                   National

        22               TPA       Tampa                              FL                     324.12                                                       324.12

        23               BWI       Baltimore                         MD                      364.83                                                       364.83

        24               AUS       Austin                             TX                     387.58                                                       387.58

        25               MIA       Miami                              FL                     350.44                                                       350.44

        26               PDX       Portland                          OR                      411.01                                                        411.01

        27               BNA       Nashville                          TN                     354.48                                                       354.48

        28               CLT       Charlotte                          NC                     447.92                                                       447.92

        29               SLC       Salt Lake City                     UT                     441.86                                                       441.86

        30               RDU       Raleigh/Durham                     NC                     383.46                                                       383.46

        31               SMF       Sacramento                         CA                     378.71                                                       378.71

        32               HNL       Honolulu                           HI                     350.71                                                       350.71

        33               MDW       Chicago-Midway                     IL                     319.56                                                       319.56

        34               STL       St. Louis                         MO                      403.24                                                       403.24

        35               SJC       San Jose                           CA                     330.02                                                       330.02

        36               IAD       Washington-Dulles                  DC                     495.93                                                       495.93

        37               MCI       Kansas City                       MO                      403.89                                                       403.89

        38               DAL       Dallas-Love Field                  TX                     338.88                                                       338.88

        39               IND       Indianapolis                       IN                     385.96                                                       385.96

        40               CLE       Cleveland                         OH                      361.62                                                       361.62

        41               SNA       Santa Ana                          CA                     408.31                                                       408.31

        42               OAK       Oakland                            CA                     303.55                                                       303.55

        43               SAT       San Antonio                        TX                     389.86                                                       389.86

        44               MSY       New Orleans                        LA                     334.90                                                       334.90

        45               PIT       Pittsburgh                         PA                     373.35                                                       373.35

        46               SJU       San Juan                           PR                     299.24                                                       299.24

        47               CVG       Cincinnati                        OH                      365.88                                                       365.88

        48               CMH       Columbus                          OH                      398.73                                                       398.73

        49               HOU       Houston-Hobby                      TX                     342.33                                                       342.33

        50               RSW       Fort Myers                         FL                     336.09                                                       336.09

        51               BDL       Hartford                           CT                     373.35                                                       373.35

                                   West Palm Beach/Palm
        52               PBI                                          FL                     364.76                                                       364.76
                                   Beach

        53               JAX       Jacksonville                       FL                     408.43                                                       408.43

        54               ONT       Ontario                            CA                     373.69                                                       373.69

        55               MKE       Milwaukee                          WI                     393.87                                                       393.87

        56               BUR       Burbank                            CA                     308.72                                                       308.72

        57               RIC       Richmond                           VA                     401.14                                                       401.14

        58               CHS       Charleston                         SC                     379.69                                                       379.69

        59               OMA       Omaha                              NE                     420.35                                                       420.35

        60               BUF       Buffalo                            NY                     360.87                                                       360.87

        61               MEM       Memphis                            TN                     411.39                                                        411.39

        62               BOI       Boise                              ID                     420.94                                                       420.94
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63      ABQ     Albuquerque                    NM                399.41                   399.41

64      ORF     Norfolk                         VA               419.79                   419.79

65       SDF    Louisville                      KY               379.54                   379.54

66       ELP    El Paso                         TX               403.16                   403.16

67      OKC     Oklahoma City                  OK                437.71                   437.71

68      GRR     Grand Rapids                    MI               406.82                   406.82

69      OGG     Kahului                         HI               280.83                   280.83

70      ANC     Anchorage                       AK               543.54                   543.54

71      GEG     Spokane                        WA                442.10                   442.10

72       PVD    Providence                      RI               349.49                   349.49

73      RNO     Reno                           NV                389.93                   389.93

74       TUS    Tucson                          AZ               437.36                   437.36

75       LGB    Long Beach                     CA                301.98                   301.98

76      DSM     Des Moines                      IA               409.30                   409.30

77       SYR    Syracuse                       NY                360.04                   360.04

78      SRQ     Sarasota/Bradenton              FL               325.34                   325.34

79       TUL    Tulsa                          OK                444.25                   444.25

80       ALB    Albany                         NY                438.31                   438.31

81      BHM     Birmingham                      AL               496.88                   496.88

82       SAV    Savannah                       GA                418.59                   418.59

83      ROC     Rochester                      NY                405.94                   405.94

84      HPN     White Plains                   NY                369.57                   369.57

85      KOA     Kona                            HI               290.60                   290.60

86       TYS    Knoxville                       TN               456.02                   456.02

87      GSP     Greenville-Spartanburg         SC                485.13                   485.13

88       PNS    Pensacola                       FL               416.25                   416.25

89       LIH    Lihue                           HI               264.34                   264.34

90      COS     Colorado Springs               CO                379.93                   379.93

91      MYR     Myrtle Beach                   SC                323.00                   323.00

92       FAT    Fresno                         CA                423.85                   423.85

93       LIT    Little Rock                    AR                468.56                   468.56

94      PWM     Portland                       ME                437.67                   437.67

95      MSN     Madison                         WI               498.12                   498.12

96       AVL    Asheville                      NC                325.17                   325.17

97       BZN    Bozeman                        MT                438.85                   438.85

98       PSP    Palm Springs                   CA                413.88                   413.88

99       XNA    Fayetteville                   AR                492.74                   492.74

100      SFB    Sanford                         FL               125.09                   125.09

101      PIE    St. Petersburg                  FL               129.08                   129.08

102     EUG     Eugene                         OR                396.82                   396.82

103      ICT    Wichita                         KS               437.25                   437.25

104     GSO     Greensboro/High Point          NC                477.51                   477.51

105      CID    Cedar Rapids/Iowa City          IA               414.74                   414.74

106     MDT     Harrisburg                      PA               454.57                   454.57

107      AZA    Phoenix                         AZ               158.46                   158.46

108     HVN     New Haven                       CT               197.04                   197.04

109      HSV    Huntsville                      AL               523.27                   523.27

110      FSD    Sioux Falls                    SD                420.38                   420.38

111      ISP    Islip                          NY                268.64                   268.64

112     MHT     Manchester                     NH                423.14                   423.14

113      BTV    Burlington                      VT               520.72                   520.72

114     PGD     Punta Gorda                     FL               155.12                   155.12

115     MAF     Midland/Odessa                  TX               426.38                   426.38

116      VPS    Valparaiso                      FL               409.21                   409.21

117      LEX    Lexington                       KY               467.68                   467.68

118      JAN    Jackson/Vicksburg              MS                494.81                   494.81

119      ITO    Hilo                            HI               199.27                   199.27

120     MFE     Mission/McAllen/Edinburg        TX               416.61                   416.61

121      ILM    Wilmington                     NC                517.97                   517.97

122      SGF    Springfield                    MO                461.53                   461.53

123      SBA    Santa Barbara                  CA                439.67                   439.67

124      DAY    Dayton                         OH                483.82                   483.82

125      CAE    Columbia                       SC                514.10                   514.10

126     ATW     Appleton                        WI               414.38                   414.38

127      FAR    Fargo                          ND                494.29                   494.29
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128     RDM     Bend/Redmond                  OR                452.48                   452.48

129      ECP    Panama City                    FL               437.04                   437.04

130      LBB    Lubbock                        TX               438.19                   438.19

131      ABE    Allentown/Bethlehem/Easton     PA               285.24                   285.24

132     MFR     Medford                       OR                434.76                   434.76

133     CHA     Chattanooga                    TN               517.13                   517.13

134      FAI    Fairbanks                      AK                528.11                  528.11

135      HRL    Harlingen/San Benito           TX               336.87                   336.87

136      PSC    Pasco/Kennewick/Richland      WA                496.25                   496.25

137      SBN    South Bend                     IN               388.64                   388.64

138      ACY    Atlantic City                  NJ               139.14                   139.14

139     BQN     Aguadilla                     PR                234.25                   234.25

140     FWA     Fort Wayne                     IN               424.50                   424.50

141      PVU    Provo                          UT               125.22                   125.22

142     MSO     Missoula                      MT                549.62                   549.62

143      TTN    Trenton                        NJ               152.65                   152.65

144      CAK    Akron                         OH                261.17                   261.17

145      BIL    Billings                      MT                505.51                   505.51

146      TLH    Tallahassee                    FL               553.81                   553.81

147      PIA    Peoria                         IL               364.17                   364.17

148      STT    Charlotte Amalie               VI               404.59                   404.59

149     AMA     Amarillo                       TX               423.17                   423.17

150      PAE    Everett                       WA                383.53                   383.53

151      BLI    Bellingham                    WA                279.06                   279.06

152      BTR    Baton Rouge                    LA               524.87                   524.87

153      FNT    Flint                          MI               266.50                   266.50

154      FCA    Kalispell                     MT                537.87                   537.87

155     ROA     Roanoke                        VA               531.95                   531.95

156     CRP     Corpus Christi                 TX               499.94                   499.94

157     BGR     Bangor                        ME                400.90                   400.90

158      STS    Santa Rosa                    CA                292.59                   292.59

159     GRB     Green Bay                      WI               545.49                   545.49

160     CHO     Charlottesville                VA               503.40                   503.40

161      SBP    San Luis Obispo               CA                512.03                   512.03

162      SHV    Shreveport                     LA               520.65                   520.65

163      TVC    Traverse City                  MI               508.71                   508.71

164      RAP    Rapid City                    SD                493.68                   493.68

165      MLI    Moline                         IL               425.04                   425.04

166     AGS     Augusta                       GA                539.97                   539.97

167      DAB    Daytona Beach                  FL               475.28                   475.28

168      JAC    Jackson                       WY                594.21                   594.21

169      BIS    Bismarck/Mandan               ND                491.80                   491.80

170     GNV     Gainesville                    FL               541.04                   541.04

171      IDA    Idaho Falls                    ID               489.33                   489.33

172     EYW     Key West                       FL               440.04                   440.04

173      GPT    Gulfport/Biloxi               MS                464.18                   464.18

174      JNU    Juneau                         AK               509.40                   509.40

175     MOB     Mobile                         AL               542.63                   542.63

176      GJT    Grand Junction                CO                521.93                   521.93

177      LFT    Lafayette                      LA               598.13                   598.13

178     MRY     Monterey                      CA                460.70                   460.70

179      MLB    Melbourne                      FL               477.54                   477.54

                Bristol/Johnson
180      TRI                                   TN               607.84                   607.84
                City/Kingsport

181     BRO     Brownsville                    TX               394.79                   394.79

182      BLV    Belleville                     IL               152.07                   152.07

183      LCK    Columbus                      OH                156.23                   156.23

184      AVP    Scranton/Wilkes-Barre          PA               531.13                   531.13

185      BFL    Bakersfield                   CA                543.48                   543.48

186     CRW     Charleston/Dunbar             WV                530.75                   530.75

187      ILG    Wilmington                    DE                192.87                   192.87

188      FAY    Fayetteville                  NC                505.65                   505.65

189      BMI    Bloomington/Normal             IL               485.64                   485.64

190      GTF    Great Falls                   MT                474.16                   474.16

191      ASE    Aspen                         CO                678.52                   678.52
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192     DRO     Durango                       CO                567.84                    567.84

193      PSE    Ponce                         PR                192.95                    192.95

194     MGM     Montgomery                     AL               524.78                    524.78

195      RFD    Rockford                       IL               202.07                    202.07

196      EVV    Evansville                     IN               582.98                    582.98

197      MTJ    Montrose/Delta                CO                430.81                    430.81

198      STX    Christiansted                  VI               357.23                    357.23

199     MOT     Minot                         ND                454.54                    454.54

200      LRD    Laredo                         TX               408.48                    408.48

201      OAJ    Jacksonville/Camp Lejeune     NC                525.86                    525.86

202     ORH     Worcester                     MA                325.34                    325.34

203      SCE    State College                  PA                630.11                   630.11

204      DLH    Duluth                        MN                578.94                    578.94

205     SGU     St. George                     UT               601.53                    601.53

206      ACV    Arcata/Eureka                 CA                446.55                    446.55

207      USA    Concord                       NC                 110.60                   110.60

208     HDN     Hayden                        CO                398.63                    398.63

209      LAN    Lansing                        MI               427.58                    427.58

210      LNK    Lincoln                       NE                562.06                    562.06

211     GRK     Killeen                        TX               578.98                    578.98

212      SAF    Santa Fe                      NM                560.62                    560.62

213      HTS    Ashland                       WV                320.28                    320.28

214     EGE     Eagle                         CO                668.70                    668.70

215      GFK    Grand Forks                   ND                515.26                    515.26

216     XWA     Williston                     ND                640.98                    640.98

217      AZO    Kalamazoo                      MI               460.24                    460.24

218     COU     Columbia                      MO                649.87                    649.87

219      LBE    Latrobe                        PA               138.91                    138.91

220      ELM    Elmira/Corning                NY                360.98                    360.98

221     SWF     Newburgh/Poughkeepsie         NY                177.75                    177.75

222     MLU     Monroe                         LA               606.17                    606.17

223      BET    Bethel                         AK               409.70                    409.70

224      KTN    Ketchikan                      AK               526.26                    526.26

225     PBG     Plattsburgh                   NY                224.73                    224.73

226     MBS     Saginaw/Bay City/Midland       MI               587.71                    587.71

227      ACK    Nantucket                     MA                714.62                    714.62

228      AEX    Alexandria                     LA                611.17                   611.17

228     RDD     Redding                       CA                440.69                    440.69

230      LCH    Lake Charles                   LA               478.60                    478.60

231     CPR     Casper                        WY                610.29                    610.29

232      HLN    Helena                        MT                582.10                    582.10

233      TOL    Toledo                        OH                194.05                    194.05

234      ABI    Abilene                        TX               553.62                    553.62

235      SCK    Stockton                      CA                125.51                    125.51

236     CWA     Mosinee                        WI               538.66                    538.66

237      LYH    Lynchburg                      VA               614.30                    614.30

238     GUM     Guam                           TT              1,672.76                  1,672.76

239      RST    Rochester                     MN                519.96                    519.96

240     SUN     Sun Valley/Hailey/Ketchum      ID               631.63                    631.63

241      PHF    Newport News/Williamsburg      VA               589.46                    589.46

242     YUM     Yuma                           AZ               703.10                    703.10

243      GRI    Grand Island                  NE                406.90                    406.90

244      IAG    Niagara Falls                 NY                185.70                    185.70

245      CMI    Champaign/Urbana               IL               676.64                    676.64

246      SIT    Sitka                          AK               518.16                    518.16

247     PUW     Pullman                       WA                467.68                    467.68

248     PSM     Portsmouth                    NH                238.96                    238.96

249     ADQ     Kodiak                         AK               562.36                    562.36

250     HHH     Hilton Head                   SC                434.69                    434.69

251     FSM     Fort Smith                    AR                700.01                    700.01

252      FLG    Flagstaff                      AZ               642.87                    642.87

253      CLL    College Station/Bryan          TX               515.51                    515.51

254      TYR    Tyler                          TX               576.34                    576.34

255      SPI    Springfield                    IL               223.40                    223.40

256      ITH    Ithaca/Cortland               NY                507.84                    507.84
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257     MVY     Martha's Vineyard              MA                576.71                    576.71

                New
258     EWN                                    NC                653.20                    653.20
                Bern/Morehead/Beaufort

259      ERI    Erie                            PA               554.18                    554.18

260      SBY    Salisbury                      MD                745.67                    745.67

261      ACT    Waco                            TX               564.68                    564.68

262      SJT    San Angelo                      TX               758.09                    758.09

263     MHK     Manhattan/Ft. Riley             KS               534.78                    534.78

264     CSG     Columbus                       GA                606.55                    606.55

265      TXK    Texarkana                      AR                532.25                    532.25

266      CKB    Clarksburg/Fairmont            WV                205.45                    205.45

267     LAW     Lawton/Fort Sill               OK                523.42                    523.42

268     BGM     Binghamton                     NY                348.21                    348.21

269     ROW     Roswell                        NM                563.56                    563.56

270      VLD    Valdosta                       GA                676.99                    676.99

271     HGR     Hagerstown                     MD                135.56                    135.56

272     OME     Nome                            AK               530.50                    530.50

273      VRB    Vero Beach                      FL               177.49                    177.49

274      LSE    La Crosse                       WI               695.45                    695.45

275     MQT     Marquette                       MI               650.51                    650.51

276      BPT    Beaumont/Port Arthur            TX               474.04                    474.04

277     GGG     Longview                        TX               522.30                    522.30

278      OTZ    Kotzebue                        AK               506.04                    506.04

279     GTR     Columbus                       MS                664.45                    664.45

280     SWO     Stillwater                     OK                533.49                    533.49

281     PPG     Pago Pago                       TT              1,249.15                  1,249.15

282     LWS     Lewiston                        ID               504.94                    504.94

283     BRW     Barrow                          AK               488.54                    488.54

284     PGV     Greenville                     NC                533.49                    533.49

285      ABY    Albany                         GA                759.68                    759.68

286     COD     Cody                           WY                595.87                    595.87

287     DHN     Dothan                          AL               817.69                    817.69

288      STC    St. Cloud                      MN                260.71                    260.71

289      SPS    Wichita Falls                   TX               523.77                    523.77

290     GUC     Gunnison                       CO                588.66                    588.66

291     GCC     Gillette                       WY                657.67                    657.67

292      BJI    Bemidji                        MN                698.96                    698.96

293      EAT    Wenatchee                      WA                566.23                    566.23

294     SCC     Deadhorse                       AK               524.89                    524.89

295      DIK    Dickinson                      ND                574.90                    574.90

296      SBD    San Bernardino                 CA                 119.34                   119.34

297      CIU    Sault Ste. Marie                MI               710.92                    710.92

298     SHR     Sheridan                       WY                714.85                    714.85

299     GCK     Garden City                     KS               632.06                    632.06

300     BQK     Brunswick                      GA                622.94                    622.94

301      ART    Watertown                      NY                344.82                    344.82

302      ABR    Aberdeen                       SD                782.30                    782.30

303     ALW     Walla Walla                    WA                507.62                    507.62

304      DLG    Dillingham                      AK               550.85                    550.85

305      FLO    Florence                       SC                535.40                    535.40

306     HOB     Hobbs                          NM                444.00                    444.00

307     DBQ     Dubuque                         IA               245.58                    245.58

308     YKM     Yakima                         WA                573.43                    573.43

309      RHI    Rhinelander                     WI               758.20                    758.20

310     TWF     Twin Falls                      ID               748.71                    748.71

311      PLN    Pellston                        MI               757.43                    757.43

312      IMT    Iron Mountain/Kingsfd           MI               660.60                    660.60

313      EAU    Eau Claire                      WI               228.82                    228.82

314      SPN    Saipan                          TT               656.87                    656.87

315      PQI    Presque Isle/Houlton           ME                524.36                    524.36

316      PIH    Pocatello                       ID               768.17                    768.17

317      SUX    Sioux City                      IA               487.52                    487.52

318     PSG     Petersburg                      AK               498.42                    498.42

319     CMX     Hancock/Houghton                MI               717.54                    717.54

320      RKS    Rock Springs                   WY                601.38                    601.38
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321      AKN    King Salmon                  AK               589.92                    589.92

322      LAR    Laramie                     WY                553.98                    553.98

323     BRD     Brainerd                    MN                742.28                    742.28

324      RIW    Riverton/Lander             WY                597.19                    597.19

325     BTM     Butte                       MT                583.67                    583.67

326      HYA    Hyannis                     MA                402.31                    402.31

327      CYS    Cheyenne                    WY                563.55                    563.55

328      ESC    Escanaba                     MI               571.77                    571.77

329     SMX     Santa Maria                 CA                 87.33                     87.33

330      LBF    North Platte                NE                489.24                    489.24

331      HIB    Hibbing                     MN                656.88                    656.88

332      VEL    Vernal                       UT               509.63                    509.63

333     CDV     Cordova                      AK               517.31                    517.31

334      EAR    Kearney                     NE                687.16                    687.16

335     EKO     Elko                        NV                785.74                    785.74

336      ALO    Waterloo                     IA               591.18                    591.18

337      MEI    Meridian                    MS                538.54                    538.54

338     OTH     North Bend/Coos Bay         OR                452.32                    452.32

339     WRG     Wrangell                     AK               532.03                    532.03

340     CDC     Cedar City                   UT               541.73                    541.73

341      JST    Johnstown                    PA               483.20                    483.20

342      PIR    Pierre                      SD                710.03                    710.03

343      VCT    Victoria                     TX               503.55                    503.55

344     PRC     Prescott                     AZ               543.91                    543.91

345      BFF    Scottsbluff                 NE                491.86                    491.86

346     CNY     Moab                         UT               499.74                    499.74

347     BFM     Mobile                       AL               103.57                    103.57

348     DEC     Decatur                      IL               520.28                    520.28

349      SLE    Salem                       OR                156.35                    156.35

350      INL    International Falls         MN                725.50                    725.50

351      APN    Alpena                       MI               686.92                    686.92

352      SLN    Salina                       KS               426.26                    426.26

353     OWB     Owensboro                    KY               558.13                    558.13

354      ATY    Watertown                   SD                602.19                    602.19

355      PAH    Paducah                      KY               698.97                    698.97

356      JLN    Joplin                      MO                487.69                    487.69

357      PIB    Hattiesburg/Laurel          MS                518.36                    518.36

358      JMS    Jamestown                   ND                506.82                    506.82

359      LBL    Liberal                      KS               408.44                    408.44

360     SHD     Staunton                     VA               599.84                    599.84

361      ALS    Alamosa                     CO                641.74                    641.74

362      BIH    Bishop                      CA                478.86                    478.86

363      YAK    Yakutat                      AK               658.63                    658.63

364      HYS    Hays                         KS               443.79                    443.79

365     CVN     Clovis                      NM                644.28                    644.28

366      DVL    Devils Lake                 ND                484.98                    484.98

367     DDC     Dodge City                   KS               432.04                    432.04

368     BKW     Beckley                     WV                596.66                    596.66

369     OGS     Ogdensburg                  NY                539.40                    539.40

370     MWA     Marion/Herrin                IL               503.72                    503.72

371      IPL    El Centro                   CA                437.71                    437.71

371     LWB     Lewisburg                   WV                566.71                    566.71

373      LEB    Lebanon-Hanover             NH                448.45                    448.45

374     FOD     Fort Dodge                   IA               453.00                    453.00

375      DUT    Unalaska                     AK              1,295.78                  1,295.78

376      PUB    Pueblo                      CO                448.21                    448.21

377      CGI    Cape Girardeau              MO                 484.11                   484.11

378     MKG     Muskegon                     MI               535.38                    535.38

378      TBN    Fort Leonard Wood           MO                466.52                    466.52

380      MBL    Manistee/Ludington           MI               480.93                    480.93

381     MCW     Mason City                   IA               427.27                    427.27

382     AUG     Augusta/Waterville          ME                563.79                    563.79

382      TEX    Telluride                   CO                759.30                    759.30

384      BHB    Bar Harbor                  ME                487.76                    487.76

384      PKB    Parkersburg                 WV                587.56                    587.56
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                       386              IWD           Ironwood                                  MI                               496.97                                                      496.97

                       387              CEZ           Cortez                                    CO                               529.04                                                      529.04

                       388              UIN           Quincy                                     IL                              453.76                                                      453.76

                       389              RKD           Rockland                                  ME                               581.58                                                      581.58

                       390              DUJ           DuBois                                    PA                               415.03                                                      415.03

                       391             MGW            Morgantown                                WV                               601.46                                                      601.46

                       392              TUP           Tupelo                                    MS                               505.89                                                      505.89

                       392              RUT           Rutland                                   VT                               483.20                                                      483.20

                       394              LNS           Lancaster                                 PA                               443.96                                                      443.96

                       395              PVC           Provincetown                              MA                               432.33                                                      432.33

                       396              BRL           Burlington                                 IA                              472.59                                                      472.59

                       397              PGA           Page                                      AZ                               470.93                                                      470.93

                       398              AIA           Alliance                                  NE                               718.96                                                      718.96

                       399              AOO           Altoona                                   PA                               548.20                                                      548.20

                       400              IRK           Kirksville                                MO                               539.39                                                      539.39

                       401              TVF           Thief River Falls                         MN                               609.94                                                      609.94

                       401              SDY           Sidney                                    MT                               472.44                                                      472.44

                       403              HOM           Homer                                     AK                               654.40                                                      654.40

                       404              MSL           Muscle Shoals                             AL                               547.60                                                      547.60

                       405              GLH           Greenville                                MS                               602.77                                                      602.77

                       406              BFD           Bradford                                  PA                               729.44                                                      729.44

                       407              SLK           Saranac Lake/Lake Placid                  NY                               492.76                                                      492.76

                       408              MCK           McCook                                    NE                               523.33                                                      523.33

                       409              VQS           Vieques                                   PR                               627.44                                                      627.44

                       410              CDR           Chadron                                   NE                               529.00                                                      529.00

                       411              ADK           Adak Island                               AK                               761.00                                                      761.00

                       412             SOW            Show Low                                  AZ                               610.50                                                      610.50

                       413              MSS           Massena                                   NY                               622.60                                                      622.60

                       414              MAZ           Mayaguez                                  PR                               642.92                                                      642.92

                       415              ELD           El Dorado                                 AR                               395.75                                                      395.75

                       415              HRO           Harrison                                  AR                               484.67                                                      484.67

                       417              HOT           Hot Springs                               AR                               632.67                                                      632.67

                       417              MKK           Hoolehua                                  HI                               528.90                                                      528.90

                       419              MKL           Jackson                                   TN                               460.25                                                      460.25

                       420              VDZ           Valdez                                    AK                               678.50                                                      678.50

                       421              OLF           Wolf Point                                MT                               858.50                                                      858.50

                       422              GDV           Glendive                                  MT                               810.14                                                      810.14

                       423              PDT           Pendleton                                 OR                               478.67                                                      478.67

                       424             GGW            Glasgow                                   MT                               852.00                                                      852.00

                       425              CPX           Culebra                                   PR                               478.40                                                      478.40

                       426              JBR           Jonesboro                                 AR                               397.25                                                      397.25

                       427              LNY           Lanai                                     HI                               590.50                                                      590.50

                       428              JHM           Kapalua                                   HI                             1,267.00                                                     1,267.00

                       429              OGD           Ogden                                     UT                               103.58                                                      103.58

               National Average                                                                                                  387.94                                                      387.94

                                      Source: Bureau of Transportation Statistics, Airline Origin & Destination Survey (10% Sample), DB1B_Ticket where bulk fare equals zero,
                                      itinerary fare is greater than or equal to fifty dollars ($50) and itinerary yield is less than or equal to three dollars ($3).

                                      Itinerary Fare: Average fares are based on domestic itinerary fares, round-trip or one-way for which no return is purchased. Fares are based
                                      on the total ticket value which consists of the price charged by the airlines plus any additional taxes and fees levied by an outside entity at the
                                      time of purchase. Fares include only the price paid at the time of the ticket purchase and do not include other fees, such as baggage fees,
                                      paid at the airport or onboard the aircraft. Averages do not include frequent-flyer or 'zero fares' or a few abnormally high reported fares.
                                      Airports* ranked by U.S. originating domestic passengers in 2023.




U.S. DEPARTMENT OF TRANSPORTATION

Bureau of Transportation Statistics

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